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                      UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                               _______________

                                    No. 20-3371
                                  _______________

                   DONALD J. TRUMP FOR PRESIDENT, INC.;
                  LAWRENCE ROBERTS; DAVID JOHN HENRY,

                                                          Appellants

                                           v.

          SECRETARY COMMONWEALTH OF PENNSYLVANIA;
  ALLEGHENY COUNTY BOARD OF ELECTIONS; CENTRE COUNTY BOARD
  OF ELECTIONS; CHESTER COUNTY BOARD OF ELECTIONS; DELAWARE
   COUNTY BOARD OF ELECTIONS; MONTGOMERY COUNTY BOARD OF
      ELECTIONS; NORTHAMPTON COUNTY BOARD OF ELECTIONS;
            PHILADELPHIA COUNTY BOARD OF ELECTIONS
                         _______________

                    On Appeal from the United States District Court
                        for the Middle District of Pennsylvania
                                (D.C. No. 4:20-cv-02078)
                     District Judge: Honorable Matthew W. Brann
                                   _______________

                     Submitted Under Third Circuit L.A.R. 34.1(a)
                               on November 25, 2020

      Before: SMITH, Chief Judge, and CHAGARES and BIBAS, Circuit Judges
                                _______________

                                    JUDGMENT
                                  _______________

    This cause came to be considered on the record from the United States District Court
for the Middle District of Pennsylvania and was submitted under L.A.R. 34.1(a) on No-
vember 25, 2020.

   On consideration whereof, it is now ORDERED and ADJUDGED that the District
Court’s judgment entered on November 21, 2020, is hereby AFFIRMED. Costs to be
taxed against Appellants. All of the above in accordance with the Opinion of this Court.
         Case 4:20-cv-02078-MWB Document 217 Filed 02/23/21 Page 2 of 2




                                                             ATTEST:


                                                             s/ Patricia S. Dodszuweit
Dated:         November 27, 2020                             Clerk




 Certified as a true copy and issued in lieu
 of a formal mandate on      11/27/20

Teste:
Clerk, U.S. Court of Appeals for the Third Circuit


Pursuant to F.R.A.P. 39(d), taxed in favor of Appellees, Allegheny County Board of Elections, Chester County
Board of Elections, Montgomery County Board of Elections and Philadelphia County Board of Elections, added
hereto on February 23, 2021 as follows:

Brief:         $ 90.97
Appendix        113.71
TOTAL:         $204.45




 Certified as a true copy and issued in lieu
 of a formal mandate on      02/23/21 (Amended Mandate_


Teste:
Clerk, U.S. Court of Appeals for the Third Circuit
